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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA,            :

       Plaintiff,                    :

v.                                   :   Civil Action No. GLR-16-810

J.A. SUBWAY, INC. et al.,            :

       Defendants.                   :

                             ORDER TO SHOW CAUSE

       THIS MATTER is before the Court on Plaintiff United States of

America’s Motion for Order Directing Defendants to Show Cause (ECF No.

19).    Upon consideration of the Motion, it is this 12th day of May,

2017 hereby:

       ORDERED that Plaintiff’s Motion (ECF No. 19) is GRANTED;

       IT IS FURTHER ORDERED that Defendant Jamiu Lawal appear before

the Honorable George L. Russell, III at the U.S. Courthouse, 101 West

Lombard Street, Baltimore, Maryland, 21201 on the 24th day of July,

2017 at 9:30 a.m. to show cause why he and Defendant J.A. Subway, Inc.

should not be held in contempt for failing to comply with the Court’s

September 23, 2016 permanent injunction (ECF No. 15);

       IT IS FURTHER ORDERED that Plaintiff personally serve a copy of

this Order on Lawal; and

       IT IS FURTHER ORDERED that Plaintiff file with the Court an

affidavit of service at least five days before the show cause hearing.

                                               /s/
                                   ____________________________
                                   George L. Russell, III
                                   United States District Judge
